        Case 5:18-cv-00881-XR Document 13 Filed 04/05/22 Page 1 of 2




            I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                   T H E W E ST E R N D I ST R I C T O F T E X AS
                           SA N A N T O N I O D IV I SI O N

 CHARLENE UHL                                      NO. 5:18-CV-00881-XR
 Individually, as Heir at Law and as                  (consolidated with
 Representative of the Estate of                      5:18-cv-00555-XR)
 H A L E Y K R U E G E R, D eceased

 Plaintiffs

 vs.

 UNITED STATES OF
 AMERICA,

 Defendant



                              FINAL JUDGMENT

       Judgment is entered in accordance with the Findings of Fact &

Conclusions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF

No. 584), by District Judge Xavier Rodriguez, and Plaintiffs shall recover

from the United States in the amount of:

          1. $700,000.00 for Charlene Uhl; and

          2. $5,000,000.00 for Charlene Uhl, as Heir at Law and
             Representative of the Estate of Haley Krueger, Deceased

       Plaintiffs shall file their bill of costs with this Court within 10 days of

entry of this judgment.

       Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly



                                         Page 1 of 2
        Case 5:18-cv-00881-XR Document 13 Filed 04/05/22 Page 2 of 2




average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding

the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.1

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                     XAVIER RODRIGUEZ
                                     UNITED STATES DISTRICT JUDGE




1   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

                                         Page 2 of 2
